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                                                                                  2006 Dec-28 AM 10:04
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION


LUCY B. WATSON,                       )
                                      )
Plaintiff                             )
                                      )
      vs.                             )         Case No. 2:05-cv-00276-HGD
                                      )
CAPITAL ONE,                          )
                                      )
Defendant/Third Party Plaintiff       )
                                      )
      vs.                             )
                                      )
RANDOLPH MURPHY,                      )
                                      )
Third Party Defendant                 )


                              DISMISSAL ORDER

      Pursuant to the Joint Stipulation of Dismissal With Prejudice filed by plaintiff

Lucy Watson and defendant Capital One (Doc. #25), it is ORDERED, ADJUDGED

and DECREED that any or all claims which have been or could have been asserted

by plaintiff Lucy Watson against defendant Capital One in this action are due to be

and hereby are DISMISSED WITH PREJUDICE, each party to bear its own costs.

This dismissal order does not affect the claims asserted by Capital One herein against

third party defendant Randolph Murphy.
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DONE this 28th day of December, 2006.




                                   HARWELL G. DAVIS, III
                             UNITED STATES MAGISTRATE JUDGE




                               2
